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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:13-CR-3130

vs.                                                    JUDGMENT

RAMON GARCIA,

                 Defendant.

     In accordance with the accompanying Memorandum and Order, the
defendant's pro se motion to vacate under 28 U.S.C. § 2255 (filing 509) is
dismissed.

      Dated this 31st day of October, 2016.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge
